Case 1:16-cr-20677-TLL-PTM ECF No. 472, PageID.2514 Filed 09/28/17 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                             Case No. 16-cr-20677-10
v.                                                            Honorable Thomas L. Ludington

D-10, TERENCE JAEMAR JOHNSON,

                  Defendant.
_______________________________________/

       ORDER ADOPTING REPORT AND RECOMMENDATION, ACCEPTING
       DEFENDANT’S PLEA OF GUILTY, AND TAKING THE RULE 11 PLEA
                   AGREEMENT UNDER ADVISEMENT

       On September 11, 2017, United States Magistrate Judge Patricia T. Morris conducted a

plea hearing pursuant to Defendant’s consent. ECF No. 429. The Magistrate Judge issued her

report on September 12, 2017, and recommended that this Court accept Defendant’s plea of guilty.

ECF No. 440.

       Although the Magistrate Judge’s report explicitly stated that the parties to this action may

object to and seek review of the recommendation within fourteen days of service of the report,

neither Plaintiff nor Defendant filed any objections. The failure to file objections waives any right

to appeal the magistrate judge’s findings that Defendant was competent to enter a plea, and that

the plea was entered knowingly, voluntarily, without coercion, and with a basis in fact. Thomas v.

Arn, 474 U.S. 140, 149 (1985).

       Accordingly, it is ORDERED that the magistrate judge’s report and recommendation, ECF

No. 440, is ADOPTED.
Case 1:16-cr-20677-TLL-PTM ECF No. 472, PageID.2515 Filed 09/28/17 Page 2 of 2




      It is further ORDERED that Defendant’s plea of guilty is ACCEPTED, and the Rule 11

Plea Agreement, ECF No. 432, is taken UNDER ADVISEMENT.




      Dated: September 28, 2017                                            s/Thomas L. Ludington
                                                                           THOMAS L. LUDINGTON
                                                                           United States District Judge




                                              PROOF OF SERVICE

                     The undersigned certifies that a copy of the foregoing order was served
                     upon each attorney or party of record herein by electronic means or first
                     class U.S. mail on September 28, 2017.

                                                       s/Kelly Winslow
                                                       KELLY WINSLOW, Case Manager




                                                      -2-
